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                    UNITED STATES COURT OF APPEALS                       FILED
                           FOR THE NINTH CIRCUIT                          DEC 8 2022
                                                                     MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
In re: FACEBOOK SIMULATED                      No. 22-80100
CASINO-STYLE GAMES LITIGATION.
______________________________                 D.C. No. 5:21-cv-02777-EJD
                                               Northern District of California,
KATHLEEN WILKINSON, individually and San Jose
on behalf of all others similarly situated; et
al.,                                           ORDER

                Plaintiffs-Respondents,

 v.

FACEBOOK, INC., a Delaware corporation,

                Defendant-Petitioner.

Before: TASHIMA and S.R. THOMAS, Circuit Judges.

      Respondents’ motion to withdraw their motion to extend the time to answer

the petition and to exceed page limits (Docket Entry No. 6) is granted. The motion

to extend time and exceed page limits (Docket Entry No. 4) is withdrawn.

      The motion for leave to file a reply in support of the petition (Docket Entry

No. 8) is granted. The reply has been filed.

      The petition for permission to appeal pursuant to 28 U.S.C. § 1292(b) is

granted. Respondents’ conditional cross-petition is also granted. See Yamaha

Motor Corp., U.S.A. v. Calhoun, 516 U.S. 199, 205 (1996) (holding that under

§ 1292(b), “the appellate court may address any issue fairly included within the

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certified order because ‘it is the order that is appealable, and not the controlling

question identified by the district court.’” (citation omitted)).

      The Clerk will open cross-appeals. Within 14 days after the date of this

order, the parties shall perfect their respective appeals in accordance with Federal

Rule of Appellate Procedure 5(d).




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